                    Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 1 of 26



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 7                                  UNITED STATES DISTRICT COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9                                      WESTERN DIVISION
10
   RAJAN GUPTA, a minor, by and through                              Case No. 2:21-cv-8104
11 his next friend ANANDA GUPTA,
                                                                    COMPLAINT FOR
12
                                Plaintiffs,                       DECLARATORY AND
13                                                              INJUNCTIVE RELIEF FOR
                    v.                                                VIOLATION
14
                                                               OF FEDERAL CIVIL RIGHTS
15   ROB BONTA, in his official capacity as                       UNDER 42 U.S.C. § 1983
     Attorney General of the State of California,
16

17                              Defendant.
18

19
               Plaintiff Ananda Gupta, as next friend for his 17-year-old son, Plaintiff Rajan Gupta, by
20
     and through their counsel, brings this Complaint against the above-named Defendant, his
21
     employees, agents, and successors in office, and alleges the following upon information and
22
     belief:
23

24                                            INTRODUCTION
25             1.        Governor Gavin Newsom signed Friday the most restrictive “bubble zone”
26   speech ordinance ever enacted, SB 742. Californians now face criminal charges if they
27   “knowingly approach” within thirty feet of a person in order to pass a leaflet, display a sign,
28
      Case No. 2:21-cv-8104                                                                           1
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
                Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 2 of 26



 1   protest, or engage in “education, or counseling with, that other person in a public way or on a
 2   sidewalk area.” SB 742 curtails these core First Amendment rights within “100 feet of the
 3   entrance or exit of a vaccination site,” which includes nearly every drug store, supercenter
 4   supermarket, hospital, health care department, clinic, and mobile clinic in the state.
 5         2.       Not only does the restriction—a 30-foot “bubble”—greatly exceed the limits of
 6   the zone courts previously upheld to be constitutional, SB 742 discriminates against the content
 7   of private speech. The new California Penal Code subsection, § 594.39(d), specifically carves
 8   out “labor dispute[s].” In other words, Teamsters can picket a hospital, for example, against
 9   vaccine mandates for employees or other labor issues; but political candidates, activists,
10   religious missionaries, and ordinary citizens cannot use the same site to educate, counsel,
11   protest, evangelize, or even approach someone to speak.
12         3.       Plaintiff Rajan Gupta, 17 years old and represented here by his guardian, next
13   friend, and father Ananda Gupta, does not wish to constrain access to vaccinations. To the
14   contrary, he has twice demonstrated at local CVS pharmacies in order to combat vaccine
15   misinformation and encourage people to take the safe and efficacious vaccines for SARS-CoV-2,
16   the virus that causes COVID-19. SB 742 restricts Rajan from spreading his pro-vaccination
17   message, by threatening to impose a criminal fine up to $1000 and six months’ jail time.
18         4.       Plaintiff brings this civil rights action against Attorney General Rob Bonta, to
19   vindicate his rights under the First and Fourteenth Amendment to the United States
20   Constitution, which SB 742 infringes both on its face and as applied. Plaintiff seeks an
21   injunction preventing Defendant Bonta, in his official capacity, from enforcing the law.
22
                                                 PARTIES
23
           5.       Plaintiff Rajan Gupta is, and at all times relevant to this Complaint was, a resident
24
     of Los Angeles County, California; a California and United States citizen; and a high school
25
     senior. He is under the age of eighteen and sues here by and through his next friend and father,
26
     Ananda Gupta, who resides with Rajan in Los Angeles County. Ananda Gupta co-designed
27
     Twilight Struggle, a board game where two players take the roles of the United States and the
28
      Case No. 2:21-cv-8104                                                                           2
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
                  Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 3 of 26



 1   Soviet Union during the cold war, which was ranked number one for five consecutive years on
 2   the site Board Game Geek and called “the best board game on the planet” by FiveThirtyEight.
 3   Ananda was also a senior game designer on the award-winning XCOM: Enemy Unknown video
 4   game.
 5           6.       Defendant Rob Bonta is the Attorney General of California and the chief law
 6   officer of the state with “direct supervision over every . . . sheriff and over such other law
 7   enforcement officers as may be designated by laws, in all matters pertaining to their respective
 8   offices.” Cal. Const., art. V, § 13; Cal. Gov’t Code § 12500, et seq. If, at any point a district
 9   attorney of the State fails to enforce adequately “any law of the State,” the Attorney General
10   must “prosecute any violations of the law.” Cal. Const., art. V, § 13. Plaintiff sues Defendant
11   for prospective injunctive and declaratory relief, under Ex parte Young, 209 U.S. 123 (1908), for
12   depriving Plaintiff of his First and Fourteenth Amendment rights under color of state law by
13   enforcing SB 742. Plaintiff sues Bonta in his official capacity.
14           7.       Defendant, at all times relevant to this suit, is acting under color of law.
15
                                      JURISDICTION AND VENUE
16
             8.       Plaintiff brings this action under Section 1 of the Civil Rights Act of 1871,
17
     42 U.S.C. § 1983, and the Declaratory Judgment Act, 28 U.S.C. §§2201-02, for violations of
18
     the First and Fourteenth Amendments to the United States Constitution. This Court has
19
     subject-matter jurisdiction under 28 U.S.C. §§ 1331 and 1343(a).
20
             9.       Plaintiff’s claims for declaratory and injunctive relief are authorized by the
21
     Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, implemented through Rule 57 of the Federal
22
     Rules of Civil Procedure, and to issue the injunctive relief requested by Plaintiffs under Rule
23
     65 of the Federal Rules of Civil Procedure; the requested injunctive relief under 28 U.S.C.
24
     § 1343(3); and attorneys’ fees and costs under 42 U.S.C. § 1988 and/or Cal. Civ. Code § 52.1(i).
25
             10.      Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial
26
     part of the events that gave rise to Plaintiff’s claims occurred in this district.
27

28
      Case No. 2:21-cv-8104                                                                          3
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
              Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 4 of 26



 1                                     STATEMENT OF FACTS
 2                                        The Effect of SB 742
 3          11.    Because it has an “urgency clause,” SB 742 goes into effect immediately upon its
 4   signing by the governor, which occurred October 8, 2021.
 5          12.    The bill adds a new section to the California Penal Code, § 594.39. Once
 6   chaptered, the new section will read: “It is unlawful to knowingly approach within 30 feet of
 7   any person while a person is within 100 feet of the entrance or exit of a vaccination site and is
 8   seeking to enter or exit a vaccination site, or any occupied motor vehicle seeking entry or exit
 9   to a vaccination site, for the purpose of obstructing, injuring, harassing, intimidating, or
10   interfering with that person or vehicle occupant.” § 594.39(a). The bill defines “harassing” to
11   mean “knowingly approaching, without consent, … for the purpose of passing a leaflet or
12   handbill to, displaying a sign to, or engaging in oral protest, education, or counseling
13   with, that other person in a public way or on a sidewalk area.” § 594.39(c)(1).
14          13.    The restriction’s impact is not negligible. The 30-foot radius makes pamphleting
15   or ordinary one-on-one conversations impossible. An aspiring political candidate or an activist
16   supporting a citizen’s initiative could not gather signatures in a zone covered by § 594.39, which
17   is a serious limitation because many grocery stores are now “supercenters,” which contain
18   pharmacies. Entrances to these stores have frequently served as de facto modern town squares.
19   SB 742 abolishes them.
20          14.    Vaccination sites include “the physical location where vaccination services are
21   provided, including, but not limited to, a hospital, physician’s office, clinic, or any retail space
22   or pop-up location made available for vaccination services”—any vaccine. This means that
23   businesses could feasibly immunize themselves against protests on the public sidewalk outside
24   by offering their employees flu vaccines on-site, as they commonly do.
25          15.    SB 742 further draws distinctions based on the message that speakers convey by
26   both subject matter and purpose. “It is not a violation” of SB 742 “to engage in lawful picketing
27   arising out of a labor dispute, as provided in Section 527.3 of the Code of Civil Procedure.” §
28   594.39(d). This section in turn forbids California courts from granting a preliminary or
      Case No. 2:21-cv-8104                                                                           4
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
              Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 5 of 26



 1   permanent injunction against in-person speech connected to labor disputes, including activities
 2   “giving publicity to, and obtaining or communicating information regarding the existence of,
 3   or the facts involved, in any labor dispute…” Cal. Code. Civ. P. § 527.3(b)(1). Speakers in a
 4   labor dispute may employ “advertising, speaking, patrolling any public street or any place where
 5   any person or persons may lawfully be, or by any other method not involving fraud, violence
 6   or breach of the peace.” Id.
 7          16.    Under SB 742, it is a criminal offense to approach within 30 feet of someone near
 8   a vaccination site (without the approached party’s consent) for the purpose of passing a leaflet
 9   or handbill; displaying a sign; or engaging in oral protest, education, or counsel. Cal. Penal Code
10   § 594.39(a), (c)(1). Except the same activity is perfectly legal as long as the leaflet, handbill, sign,
11   protest, education, or counsel is part of a picketing operation arising out of a labor dispute.
12   Thus, the Defendant and his agents must consider the subject matter, function, and purpose
13   of speech in order to provide preferential treatment to the expression of views on one particular
14   subject: labor disputes.
15          17.    Alternatively, to the extent that Defendant could construe the labor dispute
16   exception to SB 742 as applying to speakers involved in a labor dispute rather than the content
17   of the speech, no justification for this exception could be offered without reference to the
18   content of the speech, which is nothing but a content-based regulation in disguise.
19          18.    Based on the carve-out of labor speech, the comments of legislators during its
20   passage, and the events that expressly inspired SB 742, the law appears to have been adopted
21   in part because legislators disagreed with the potential antivaccination message of speech that
22   might occur near vaccination sites.
23          19.    While Plaintiff disagrees fiercely with antivaxxers and encourages all eligible
24   Americans to become vaccinated against SARS-CoV-2, the First Amendment does not permit
25   government to restrain views it disagrees with.
26

27

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      Case No. 2:21-cv-8104                                                                               5
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
              Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 6 of 26



 1                                       SB 742’s Legislative History
 2          20.       As initially considered by the California Senate Committee on Public Safety on
 3   April 20, 2021, SB 742 would have prohibited “obstruction, intimidation, or picketing targeted
 4   at a vaccination site” where “picketing” was defined as “protest activities engaged in by a
 5   person within 300 feet of a vaccination site.” The Senate Public Safety Committee Report
 6   flagged a potential Constitutional problem with SB 742: “This bill may be found to restrict
 7   speech on the basis of the content of the speech. This bill prohibits picketing ‘targeted at’ a
 8   person [or site] giving, receiving, or providing vaccination services.” Ex. A at 3.
 9          21.       According to the bill’s author, State Senator Dr. Richard Pan, SB 742 was inspired
10   by an incident at Dodger Stadium on January 30, 2021. In his comments in support of the bill
11   Pan remarked: “Current laws do not adequately balance the rights of individuals seeking
12   healthcare with the First Amendment rights of protesters. In incidents at Dodger Stadium and
13   demonstrations from groups like ‘V4V’ have resulted in disruptions of vaccine distribution and
14   infringed on individuals’ right to essential healthcare.” Senate Standing Committee on Public
15   Safety Report, at 2, attached as Exhibit A (url citations omitted).
16          22.       On April 20, 2021, the Senate Public Safety Committee considered the bill.
17   Catherine Martin of the California Vaccination Coalition spoke in favor of SB 742 and made
18   clear she hoped it would help counter Constitutionally-protected speech by antivaxxers. She
19   asserted that:
20                    The antivaccine network has worked to spread misinformation
                      about the disease, about masks, and vaccines. Their activities range
21
                      from setting up tables with antivaccine literature, to protests at mass
22                    vaccination clinics. One group has been recruiting other Spanish-
                      speakers in their network to go out into the fields to, quote, ‘educate’
23
                      agricultural workers against COVID vaccinations. Other groups
24                    have specifically targeted the African American community to
                      highlight past inequities and spread doubt. Not coincidentally, some
25
                      of the Californians who routinely protest vaccines here at the
26                    Capitol were also in Washington D.C. on January 6 holding a …
                      health freedom rally, and some did move on to the Capitol that day.
27

28
      Case No. 2:21-cv-8104                                                                          6
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
               Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 7 of 26



 1   Video available online at: https://www.senate.ca.gov/media/senate-public-safety-committee-
 2   20210420/video?time[senate-public-safety-committee-20210420]=841.463807 (last accessed
 3   Oct. 11, 2021).1
 4         23.     Matthew McReynolds of Pacific Justice Institute spoke against the bill, pointing
 5   out that the bill would criminalize all manner of protests at vaccination sites. “We doubt that
 6   the author intended those consequences, but they are the natural consequences of the current
 7   operative text, and therefore we would strongly urge amendments to remove the reference to
 8   picketing as well as to focus the bill away from the targeting of sites. The bill goes so much
 9   further than what it’s been presented as that we believe it would be clearly unconstitutional.
10   Existing law does currently prevent the type of obstruction that has been cited, so there’s no
11   need for this bill that goes so much further. … Any site that offers flu shots could immunize
12   itself from protests.” https://www.senate.ca.gov/media/senate-public-safety-committee-
13   20210420/video?time[senate-public-safety-committee-20210420]=1339.627335 (last accessed
14   Oct. 11, 2021).
15         24.     Following public comments, State Senator Scott Wiener spoke in favor of the bill,
16   complaining about “people who … sometimes deny the virus even exists or think it’s just like
17   the   common       cold.”   https://www.senate.ca.gov/media/senate-public-safety-committee-
18   20210420/video?time[senate-public-safety-committee-20210420]=2164.668846 (last accessed
19   Oct. 11, 2021). Wiener said that physically impeding people was “not First Amendment
20   activity,” and “completely unacceptable,” without addressing McReynolds’ observation that
21   the bill goes much further than physical obstruction. Id. Then State Senator Rosilicie Ochoa
22   Bogh asked how long 300 feet was. https://www.senate.ca.gov/media/senate-public-safety-
23   committee-20210420/video?time[senate-public-safety-committee-20210420]=2390.000596
24   (last accessed Oct. 11, 2021). Someone replied that it was a football field, so Ochoa Bogh
25   followed up to ask whether that was “deeper than” the Capitol. Pan responded that it was
26

27         1
             For convenience, all video links jump to the portion of the video with the quoted or
28   relevant discussions.
      Case No. 2:21-cv-8104                                                                      7
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
              Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 8 of 26



 1   certainly larger than the room they were in, “but I would note you can shout from the back of
 2   the room to the front as we’ve witnessed in past hearings.” Id. Pan added: “in Dodger Stadium
 3   they physically obstructed the entrance, but they were over 300 feet, perhaps, away from sites
 4   of vaccination.” Id. In fact, as discussed below, no physical obstruction by protestors occurred
 5   during the Dodger Stadium incident. Ochoa Bogh remarked that if the 300-foot limit seemed
 6   a little “daunting,” she wanted to know from the opposition what a reasonable limit would be
 7   given         her   view     that     a     “privacy      buffer”     would       be      helpful.
 8   https://www.senate.ca.gov/media/senate-public-safety-committee-
 9   20210420/video?time[senate-public-safety-committee-20210420]=2651.639164 (last accessed
10   Oct. 11, 2021). Matthew McReynolds responded that the Supreme Court has struck down 35-
11   foot buffer zones around abortion clinics. He dryly opined “so the 300-foot buffer zone is
12   fairly legally problematic.” https://www.senate.ca.gov/
13   media/senate-public-safety-committee-20210420/video?time[senate-public-safety-
14   committee-20210420]=2817.160338 (last accessed Oct. 11, 2021). Pan replied that it’s not
15   about speech but obstruction “just from trying to get to a vaccination site.” Id. In his closing
16   remarks, Pan said that “I find it quite telling that the lead witness,” which he took to be Joshua
17   Coleman, a protestor from the antivaccination group V is for Vaccine, “is actually a man who
18   not only has personally . . . followed me . . . certainly much closer than 35 feet, but also has
19   travelled to New York and D.C. and across the country to personally harass me.” Pan said the
20   bill was not about him, but protecting vaccination sites, and he held up what he characterized
21   as printouts from Facebook, “plans from people, including Mr. Coleman, to try to go to
22   vaccination sites and basically cause trouble.” https://www.senate.ca.gov/media/senate-
23   public-safety-committee-20210420/video?time[senate-public-safety-committee-
24   20210420]=2983.311654 (last accessed Oct. 11, 2021).
25           25.     The Committee unanimously recommended passage on April 20, so SB 742 was
26   forwarded to the Appropriations Committee due to its possible fiscal impacts.
27           26.     The Appropriations Committee staff reported an unclear impact on the state
28   court and jail systems, and the Committee cleared it for the floor on May 20 after a 6-to-1 vote,
      Case No. 2:21-cv-8104                                                                         8
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 9 of 26



 1   without Committee debate on SB 742 in particular. https://www.senate.ca.gov/media/senate-
 2   appropriations-committee-20210520/video?time[senate-appropriations-committee-
 3   20210520]=4205.243728 (last accessed Oct. 11, 2021).
 4         27.    On June 2, 2021, Pan presented his bill on the Senate floor. Among other things,
 5   Pan referenced an antivaxxer who “plowed through a [vaccination] tent with her car.”
 6   https://www.senate.ca.gov/media/senate-floor-session-20210602/video?time[senate-floor-
 7   session-20210602]=1509.102433 (last accessed Oct. 11, 2021). Senator Wiener spoke in
 8   support of the bill and against “concerted efforts to try to dissuade people from taking the
 9   vaccine, and we’re seeing higher COVID rates in those areas, people still dying.”
10   https://www.senate.ca.gov/media/senate-floor-session-20210602/video?time[senate-floor-
11   session-20210602]=1614.311698 (last accessed Oct. 11, 2021). Screaming protestors then
12   disrupted the proceedings, causing a recess. Upon resuming the session, State Senator Andreas
13   Borgeas remarked that he wanted to support the bill, but “picketing is not intimidation, and
14   picketing is not physically obstructive if it’s done appropriately.” The definition of picketing,
15   he   observed,    might    pose    significant   Constitutional    problems     for   the    bill.
16   https://www.senate.ca.gov/media/senate-floor-session-20210602/video?time[senate-floor-
17   session-20210602]=1761.007388 (last accessed Oct. 11, 2021). Pan replied that the bill just
18   created a buffer zone, and “I think we’ve just experienced why we need this bill.”
19   https://www.senate.ca.gov/media/senate-floor-session-20210602/video?time[senate-floor-
20   session-20210602]=1808.904621 (last accessed Oct. 11, 2021).
21         28.    The California Senate passed the bill on June 2 in a 33-to-4 vote, which sent the
22   bill to the Assembly. (Borgeas voted present.)
23         29.    In the Assembly, prior to approval by the Public Safety Committee, SB 742 was
24   amended. Reference to “picketing” and its 300-foot prohibition were deleted, and the proposed
25   addition to the penal code, § 594.39, instead prohibited “harassing” within 100-fee of a
26   vaccination site. It defined “harass” as “the nonconsensual and knowing approach within 30
27   feet of another person or occupied vehicle for the purpose of passing a leaflet or handbill,
28
      Case No. 2:21-cv-8104                                                                        9
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 10 of 26



 1   displaying a sign to, or engaging in oral protest, education, or counseling with that other person
 2   in a public way or on a sidewalk area.” Thus, for the first time SB 742 created a “bubble.”
 3         30.    A Public Safety Report disclaimed any hostility to any “one political position
 4   relating to vaccines” and avows that “this bill is agnostic to a speaker’s message.” Assembly
 5   Committee on Public Safety Report, attached as Exhibit B, at 7.
 6         31.    The Committee reported that the “knowingly approach” standard was calculated
 7   to recognize “that individuals may feel uncomfortable with unwelcome contact in light of the
 8   pandemic.” Ex. B at 9 (citing Melinda Fakuade, Crowds Might be Anxiety-Inducing After Covid-19.
 9   Here’s How to Manage It, VOX.COM (Mar. 8, 2021)). But the next paragraph of the same report
10   claims that the bill does not implicate “incidental conversations or people walking near each
11   other without the purpose of advocacy, protest, or education.” Id.
12         32.    On June 26, 2021, State Senator Pan presented in support of the bill before the
13   Assembly Public Safety Committee. He singled out “anti-vaccination extremists” as the target
14   of    his    bill.   https://www.assembly.ca.gov/media/assembly-public-safety-committee-
15   20210629/video?time[assembly-public-safety-committee-20210629]=2272.954285                    (last
16   accessed Oct. 11, 2021). Pan again claimed that an anti-vaccine mob had shut down vaccination
17   at Dodger Stadium and asserted that “these extremists are conducting similar operations all
18   over the state.” Pan also noted that vaccines would need to be distributed not only at hospitals
19   and pharmacies, but also “campuses, parking lots, perhaps, malls, other types of places.”
20   Catherine Martin of the California Vaccination Coalition again spoke in favor of the bill,
21   reiterating her April 20 comments decrying antivaxxers setting up tables with literature and
22   recruiting      protestors.      https://www.assembly.ca.gov/media/assembly-public-safety-
23   committee-20210629/video?time[assembly-public-safety-committee-20210629]=2651.537248
24   (last accessed Oct. 11, 2021). Matthew McReynolds of the Pacific Justice Institute again spoke
25   against the bill, noting that the Supreme Court has never upheld a buffer zone or definition of
26   “harass” as broad as the amended bill. https://www.assembly.ca.gov/media/assembly-public-
27   safety-committee-20210629/video?time[assembly-public-safety-committee-
28   20210629]=4143.55241 (last accessed Oct. 11, 2021). McReynolds observed SB 742 would
      Case No. 2:21-cv-8104                                                                          10
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 11 of 26



 1   reach far beyond COVID-19 vaccination and affect BLM protests and “labor protests to Black
 2   Lives Matter protests, animal rights activism, as well as pro-life speech outside of clinics as well
 3   as in traditional public forums.” Id.
 4          33.    Following public comments, Assemblyman Dr. Bill Quirk spoke in qualified
 5   support of SB 742. https://www.assembly.ca.gov/media/assembly-public-safety-committee-
 6   20210629/video?time[assembly-public-safety-committee-20210629]=6269.631368                      (last
 7   accessed Oct. 11, 2021). Quirk said that while he would vote in favor of the bill, the opponents
 8   had some good points. About the 30-foot limit he said “there’s absolutely no evidence I know
 9   of—and I’ve been looking—that you can transmit over 30 feet outside. . . . I really don’t think
10   that measure and some others you have in the bill would survive a court challenge.” Id. He
11   reiterated that he would be voting in support, “but I suggest you change the bill.” Id. Senator
12   Pan responded that protestors yelling or singing causes transmission at greater distances.
13          34.    The Assembly Public Safety Committee cited a study and related news articles
14   from March 2020 contending that an unmasked sneeze could transmit droplets 7-8 meters. Ex.
15   B at 6. But these early reports did not consider the lower risk of transmission outside.
16   Moreover, another scientist quoted in one of the articles expressed doubt that the virus was so
17   transmissible. “If you think about it, if this really traveled very efficiently by air, we wouldn’t
18   be having this conversation. Everybody would know it’s true because everybody would be
19   infected. If it was a 27-foot radius that was a high risk to somebody, this would be a totally
20   different conversation. It’s not.” Jordan Culver, 6 feet enough for social distancing? MIT researcher
21   says droplets carrying coronavirus can travel up to 27 feet, USA Today (Mar. 31, 2020) (quoting Dr.
22   Paul Pottinger, an infectious disease professor).
23          35.    The Public Safety Committee passed the bill 6-to-2.
24          36.    The Assembly then referred to the Appropriations Committee because it would
25   potentially cost California more than $150,000 annually (the threshold over which a bill must
26   pass through the Appropriations Committee). The Appropriations Committee, through which
27   most bills in California pass, generated a Report finding that the bill might cost California “low
28   hundreds of thousands of dollars annually for increased court costs, including trial costs.”
      Case No. 2:21-cv-8104                                                                            11
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 12 of 26



 1   Exhibit C (Appropriations Committee Report), at 2. The Appropriations Committee Report
 2   recognized that the new law is “similar” to Cal. Penal Code. §§ 423 et seq, the California
 3   Freedom of Access to Clinic and Church Entrances Act. Id. The differences between the two
 4   reveal that SB 742 could easily be tailored to avoid infringing First Amendment rights. The
 5   California Freedom of Access to Clinic and Church Entrances Act proscribes only violent or
 6   non-violent “physical obstruction,” “intimidat[ion],” “injur[y],” or “interfere[nce]” with those
 7   entering churches or clinics. Cal. Penal Code. § 423.2(a)-(d). It does not prohibit pure speech
 8   in the form of “oral protest” “education” or “counseling.” Similarly, Cal. Penal Code § 602.11
 9   proscribes preventing an individual from entering or exiting a health care facility, place of
10   worship or school through “physically detaining” the individual or “physically obstructing” his
11   passage. Again, that law steers clear of First Amendment problems by stipulating that
12   “‘Physically’ does not include speech.” Id. at § 602.11(b)(1).
13         37.    The Appropriations Committee passed SB 742 on August 26 in a 12-to-4 vote.
14   The Committee held no debate on the bill in particular, sending the bill back to the floor along
15   with scores of others.
16         38.    On September 3, SB 742 was amended into its final form, making some cosmetic
17   changes and one important substantive change. Cosmetically, the amendment added a lengthier
18   preamble to Section 1 and an entirely new Section 3, which confirms no reimbursements are
19   necessary for the act under Section 6 of Article XIII of the California Constitution because it
20   simply creates a new crime or infraction. The amendment also slightly restyled and rearranged
21   definitions for “harassing,” “interfering with,” “intimidating,” and “obstructing.” The
22   amendment deleted the definition for “vaccination services,” although the term is still used in
23   the passed bill. The amendment also deleted the phrase “making the approach”—that is, that
24   it should be criminal to approach within 30 feet of a person “making the approach” to the
25   entrance to a vaccination site. One of the opponents of the bill, the Right of Life League of
26   Southern California, had observed that it was impossible to know where another person was
27   “approaching” and for what reason. See Ex. B, at 11. However, the deletion of this term has
28
      Case No. 2:21-cv-8104                                                                       12
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 13 of 26



 1   minimal effect because SB 742 still forbid approach to a person “seeking entry or exit to a
 2   vaccination site.”
 3         39.    Substantively, the amendment added subsection (d) to Cal. Penal Code § 594.39,
 4   which reads “It is not a violation of this section to engage in lawful picketing arising out of a
 5   labor dispute, as provided in Section 527.3 of the Code of Civil Procedure.”
 6         40.    In sponsoring the amendment, Assemblywoman Rebecca Bauer-Kahan
 7   characterized the amendments as “technical and clarifying. They also address First Amendment
 8   concerns and lastly they clarify lawful picketing arising out of a labor dispute is exempt from
 9   the            bill.”             https://www.assembly.ca.gov/media/assembly-floor-session-
10   20210903/video?time[assembly-floor-session-20210903]=9453.455979 (last accessed Oct. 11,
11   2021). The minority leader said the amendment was opposed and asked for a roll call vote. No
12   further debate occurred on the amendment, which was approved by the Assembly 53-to-13.
13         41.    On the last week of the legislative session, September 8, the Assembly approved
14   SB 742 54-0, the bare minimum to meet the two-thirds requirement for a bill with an urgency
15   clause. Several representatives spoke in favor of SB 742 and none opposed. Assemblywoman
16   Dr. Akilah Weber said “last week this House overwhelmingly said ‘enough is enough’ when to
17   comes to the misinformation being espoused online and across other social platforms when
18   we     declared      public    health     misinformation      a     public     health     crisis.”
19   https://www.assembly.ca.gov/media/assembly-floor-session-
20   20210908/video?time[assembly-floor-session-20210908]=3687.250422 (last accessed Oct. 11,
21   2021). None of the legislators who voted “no” on the September 3 amendment voted on the
22   final bill; nearly a third of the assembly did not vote on the bill. Following the vote, it was
23   transmitted back to the Senate.
24         42.    The California Senate approved the amended bill on the same day, September 8,
25   in a 28-8 vote, following a short debate. In support of the bill, Pan alluded to two incidents
26   where extremists drove their cars into vaccine sites. Pan characterized the Assembly
27   amendments as “narrow[ing] the distance we know airborne and aerosol diseases can be spread,
28   add[ing] declarations and findings, mak[ing] technical changes to ensure the bill is content-
      Case No. 2:21-cv-8104                                                                         13
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 14 of 26



 1   neutral, and clarif[ying] that this bill does not supersede existing regulations on lawful union
 2   picketing.”                           https://www.senate.ca.gov/media/senate-floor-session-
 3   20210908/video?time[senate-floor-session-20210908]=5935.465587 (last accessed Oct. 11,
 4   2021). Senator Jim Nelson urged opposition to the bill because “it’s censoring.”
 5   https://www.senate.ca.gov/media/senate-floor-session-20210908/video?time[senate-floor-
 6   session-20210908]=5978.980611 (last accessed Oct. 11, 2021). Senator Dave Min opined time,
 7   place, and manner restrictions can be imposed. “You can’t yell ‘fire’ in a crowded theater, you
 8   can’t injure people, and I believe this is consistent with the First Amendment.”
 9   https://www.senate.ca.gov/media/senate-floor-session-20210908/video?time[senate-floor-
10   session-20210908]=6189.646199 (last accessed Oct. 11, 2021).
11         43.     Governor Gavin Newsom signed the bill on October 8, 2021. Governor Newsom
12   Issues Legislative Update 10.8.21: https://www.gov.ca.gov/2021/10/08/governor-newsom-
13   issues-legislative-update-10-8-21/ (last accessed Oct. 11, 2021). California’s Secretary of State
14   chaptered the bill as Chapter 737, Statutes of 2021. See 2021-2022 Session Index to Chapters:
15   https://admin.cdn.sos.ca.gov/bill-chapters/2021/chapter-number.pdf (last accessed Oct. 11,
16   2021). Due to its urgency clause, SB 742 is already in effect.
17
                              Incidents Supposedly Supporting SB 742
18
           44.     The bill’s author, State Senator Pan, and the Assembly Public Safety Committee
19
     Report on SB 742 identified three events across the country that supposedly justify the bill: (1)
20
     “extremists disrupted vaccination efforts at Dodger Stadium”; (2) “In Tennessee, a woman
21
     plowed through a tent in an effort to disrupt vaccine distribution”; and (3) “A Nevada-based
22
     vaccination organization had to cancel two in-person events in December after anti-vaccination
23
     activists launched an online harassment campaign against it.” Ex. B at 4.
24
           45.     Proponents of the bill repeatedly cited the only in-state example among these
25
     three—the Dodger Stadium incident. ProtectUS, an organization affiliated with Pan which was
26
     described as “the sponsor of the bill,” summarized the incident this way:
27
                   In the most publicized incident, Californians simply seeking the
28                 COVID-19 vaccine at Dodger Stadium were stopped by a mob of
      Case No. 2:21-cv-8104                                                                        14
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 15 of 26



 1                 extremists that brought the facility to a halt. Endangering patients
                   and health care workers for nearly an hour, anti-vaxxers worked to
 2
                   intimidate and harass a relatively captive audience. Some
 3                 participants were in fear during the chaos, as they were in vehicles,
                   unsure of what was happening as they were being yelled at by anti-
 4
                   vaxxers (none of whom were following any CDC COVID-19 safety
 5                 guidelines).
 6   Ex. A at 6. The California Medical Association later repeated these remarks nearly verbatim.
 7   Ex. B at 9-10.
 8          46.    Two of three of the cited incidents involve early COVID mass vaccination events,
 9   and the Nevada incident predates the first case of COVID-19 in America. Although Pan
10   repeatedly claimed antivax protests were “escalating,” proponents cited no evidence that
11   individuals regularly gathering at the thousands of state pharmacies and medical facilities with
12   crowds sufficiently large to obstruct access.
13          47.    Proponents of the bill mischaracterized the Dodger Stadium incident. In fact,
14   patients were blocked from entering Dodger Stadium by the Los Angeles Fire Department.
15   Pan’s comments in support of the bill (Ex. A at 2) cited the news story Dodger Stadium’s
16   COVID-19 vaccination site temporarily shut down after protesters gather at entrance, LOS ANGELES TIMES
17   (Jan. 31, 2021), available online at https://www.latimes.com/california/story/2021-01-
18   30/dodger-stadiums-covid-19-vaccination-site-shutdown-after-dozens-of-protesters-gather-
19   at-entrance             (last            accessed             Oct.             11,             2021),
20   [https://web.archive.org/web/20210812122005/https://www.latimes.com/california/story/
21   2021-01-30/dodger-stadiums-covid-19-vaccination-site-shutdown-after-dozens-of-protesters-
22   gather-at-entrance]. The story reports that the “Los Angeles Fire Department closed the
23   entrance to the stadium—one of the largest vaccination sites in the country—for about an hour
24   starting just before 2 p.m. as a precaution, officials said.” According to the story, no
25   appointments were cancelled, and no arrests were made. Protesters evidently did not enter
26   Dodger Stadium grounds as the Fire Department feared. A 103-minute livestream video cited
27   by the TIMES appears to show perhaps 35 protestors milling around outside the closed gate to
28
      Case No. 2:21-cv-8104                                                                             15
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
               Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 16 of 26



 1   Dodger Stadium. https://youtu.be/485d0NgREAY?t=2562 (jumping to moment in video
 2   where streamer approaches protesters approximately 90 feet away from the closed roadway
 3   gate) (last accessed on Oct. 11, 2021). Protestors in the video claim that officials closed the gate
 4   as they approached the entrance. The streamer observes that a sign at the entrance to Dodger
 5   Stadium notices “no trespassing,” so could provide cause to arrest protesters entering the
 6   vaccination site—if protesters had entered. https://youtu.be/485d0NgREAY?t=2773 (last
 7   accessed on Oct. 11, 2021). Some antivaxxers used the opportunity to harangue the captive
 8   audience of blocked cars with unfounded claims and conspiracy theories. When officials
 9   reopened the gates, traffic resumed flowing through, unhindered by the protesters.
10   https://youtu.be/485d0NgREAY&t=4967 (last accessed on Oct. 11, 2021). Other coverage
11   of the incident confirms that protestors remained peaceful and did not block access to the site.
12   See Anti-vaccination protest leads to temporary closure of Dodger Stadium entrance, LOS ANGELES DAILY
13   NEWS (Jan. 30, 2021), available online at https://www.dailynews.com/2021/01/30/anti-
14   vaccination-protesters-briefly-shut-down-entrance-to-dodger-stadium-vaccination-site/ (last
15   accessed Oct. 11, 2021).
16            48.      The Dodger Stadium vaccination site permanently shut down in the spring as
17   early demand for extremely scarce vaccines was sated. See Dodger Stadium vaccine site to close amid
18   demand         slowdown,   LOS   ANGELES      TIMES    (Apr.       30,     2021),   available     online   at
19   https://www.latimes.com/california/story/2021-04-30/dodger-stadium-vaccine-site-to-
20   close-amid-shift-to-more-appointment-free-clinics          (last         accessed   Oct.        10,   2021)
21   [https://web.archive.org/web/20211010003656/https://www.latimes.com/california/story/
22   2021-04-30/dodger-stadium-vaccine-site-to-close-amid-shift-to-more-appointment-free-
23   clinics]. Vaccinations shifted toward thousands of neighborhood pharmacies with plenty of
24   vaccines on hand and no need for appointments. Id.
25            49.      Even if the Dodger Stadium protestors had blocked access to the site, this activity
26   is already criminal, and penalties for blocking traffic and so forth could certainly be further
27   criminalized without infringing on speech. Cal. Penal Code § 647c proscribes “willfully and
28   maliciously obstruct[ing] the free movement of any person on any street, sidewalk or other
      Case No. 2:21-cv-8104                                                                                     16
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
               Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 17 of 26



 1   public place”; Section 647 proscribes disorderly conduct; Section 240 proscribes assault; and
 2   Section 653.2 proscribes using electronic communications to instill fear or harass. The
 3   Assembly was also aware, through a comment of A Voice for Choice Advocacy, that Penal
 4   Code §§ 404.6, 408, and 415, respectively prohibit inciting a riot, unlawful assembly, and
 5   disturbing the peace. Ex. B at 10.
 6            50.      The out-of-state incidents are utterly irrelevant. It is already unlawful for a driver
 7   to intentionally drive through a vaccination tent, as occurred in Tennessee. Finally, that two
 8   restaurants in Reno, Nevada, canceled vaccination events in 2019, apparently because they got
 9   bad online reviews—before COVID was a pandemic in the United States, and nearly a year
10   before any COVID vaccine was authorized—does not support curtailing First Amendment
11   rights at thousands of locations throughout California. See Vaccinations events in Nevada canceled
12   amid           harassment,     AP        (Dec.       29,       2019),       available     online      at
13   https://apnews.com/article/a6d02799b643867916a789ff903958bd (last accessed Oct. 10,
14   2021).
15
                              State-Recognized Science Concerning COVID-19
16
              51.      Reports in support of SB 742 offer two broad rationales in support of the
17
     measure, both tied to curbing the COVID-19 epidemic. First, to “protect people who are
18
     getting vaccinations from facing intimidation and obstruction” (Ex. B at 9), and second to
19
     directly “prevent[] the transmission of disease” by protestors. Ex. B at 6. However, both
20
     rationales fly in the face of bill itself and facts California has recognized about the virus.
21
              52.      Contrary to legislative analogies to bills protecting access to Californian churches
22
     and reproductive health clinics (e.g., Ex. C at 1), the bill does not merely protect against
23
     intimidation or obstruction, but expressly prohibits core speech activities: “passing a leaflet or
24
     handbill to, displaying a sign to, or engaging in oral protest, education, or counseling.”
25
     Additionally, SB 742 does not limit itself to COVID-19 vaccination sites, but sites for any
26
     vaccine whatsoever, perhaps even businesses with free flu shot offerings for employees.
27

28
      Case No. 2:21-cv-8104                                                                               17
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 18 of 26



 1          53.    As for the transmission rationale, SB 742’s exceptions prove it to be a pretext.
 2   The transmission of COVID-19 does not stop simply because boisterous chanting involves a
 3   labor dispute. Nor is labor picketing less of an impediment to anyone entering a vaccination
 4   site than is any other “oral protest.” Nor is it any less of a disruption to the serenity outside of
 5   a vaccination site. In fact, rowdy labor picketing and protesting, often accompanied by singing,
 6   chanting, and rambunctious in-person speech can increase the risk of virus transmission.
 7   SB 742 expressly permits such labor actions.
 8          54.    The Assembly Public Safety Committee Report claimed that “this bill is narrowly
 9   drawn to limit activity that facilitates and accelerates the transmission of all communicable
10   diseases,” but this is false. Ex. B at 7. Leafletting, distributing handbills, and displaying a sign
11   can be all done silently and unobtrusively, without posing any increased risk of aerosolized
12   virus transmission or disturbance of those entering or exiting a vaccination site, yet these
13   activities are categorically criminalized.
14          55.    Outdoor transmission of the virus is particularly unlikely, as California’s OSHA
15   recommendations confirm. Facemasks are not required for workers outdoors regardless of
16   vaccination status. Revisions to the COVID-19 Prevention Emergency Temporary Standards Frequently
17   Asked Questions, California Department of Industrial Relations (Jun. 18, 2021), available online at
18   https://www.dir.ca.gov/dosh/coronavirus/Revisions-FAQ.html (last access Oct. 10, 2021)
19   [https://web.archive.org/web/20211008172314/https://www.dir.ca.gov/dosh/coronavirus
20   /Revisions-FAQ.html]. Employers are required to instruct workers only “that face coverings
21   are recommended for unvaccinated persons outdoors where six feet of physical distancing
22   cannot be maintained.” Id. Not one hundred feet. Not thirty feet. Six feet. As a non-binding
23   recommendation to employees.
24          56.    In short, the distances greatly exceed every guideline needed to deter the spread
25   of the virus, and SB 742 is not narrowly tailored to address legitimate concern about the direct
26   spread of COVID-19. SB 742 instead broadly curtails speech outside of myriad public forums.
27   This harms all Californians and the Plaintiff in particular.
28
      Case No. 2:21-cv-8104                                                                           18
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 19 of 26



 1                                Rajan Gupta’s Pro-Vaccine Speech
 2          57.    Plaintiff Rajan Gupta has twice demonstrated in support of vaccines outside of
 3   CVS pharmacies, including one located at 12019 Wilshire Blvd, Los Angeles, CA 90049, near
 4   where he lives.
 5          58.    This CVS pharmacy is a “vaccination site” within the meaning of SB 742 because
 6   it provides vaccination services, including at least administering the flu vaccine and one or more
 7   of the authorized vaccines for SARS-CoV-2, the virus that causes COVID-19.
 8          59.    Most recently, on September 24, 2021, Rajan demonstrated at the street-facing
 9   entrance to the Wilshire Boulevard CVS pharmacy distributing flyers in support of the safe and
10   efficacious vaccines against COVID.
11          60.    Plaintiff demonstrated within 100 feet of the entrances and exits to the pharmacy
12   on the public sidewalk between the pharmacy and Wilshire Boulevard.
13          61.    In order to distribute his flyers, Rajan approached passing pedestrians. Naturally,
14   Rajan needed to approach much closer than thirty feet without consent in order to successfully
15   pass a flyer to his intended audience. The fliers contained facts dispelling common antivax
16   tropes, and encouraging people to get vaccinated against COVID-19. A true and accurate copy
17   of the flier is attached as Exhibit D.
18          62.    Many of the people Rajan approached with his flyers were seeking the entrance
19   to CVS, as evidenced by their subsequently entering the pharmacy.
20          63.    True and accurate photographs of Plaintiff leafletting outside the Wilshire Blvd.
21   CVS taken on September 24, 2021 are shown below.
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      Case No. 2:21-cv-8104                                                                         19
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
               Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 20 of 26



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15         64.     Although the virus is less likely to spread outdoors and in disinfecting sunlight,
16   Rajan, who is already vaccinated, wore a face mask and kept conversation with other people to
17   a minimum, so as to avoid potentially generating droplets that might spread viruses like SARS-
18   CoV-2.
19         65.     The 100-foot radius from the front entrance of the pharmacy encompasses not
20   only to the public sidewalks, most of the rear parking lot, and the public road, Wilshire
21   Boulevard. The area also includes the sidewalk on the opposite side of the street, where the photo
22   on the right below was taken,2 and some of the driveway for Wilshire Motel (left in the photo),
23   which is southwest of the CVS on Wilshire Blvd. An accurate overhead view of the area was
24   adapted from Google Maps, shown below. See https://goo.gl/maps/S8TWUTPyV3Xd9gbg6
25   (last visited Oct. 11, 2021). Note that much of the CVS store is underneath a second-level
26

27         2
              Available online at: https://www.yelp.com/biz_photos/cvs-pharmacy-los-angeles-
28   103?select=tuG2BToKB-hKyxqAlZwC3A (last visited Oct. 11, 2021).
      Case No. 2:21-cv-8104                                                                         20
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 21 of 26



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            66.    Rajan Gupta’s demonstrations were well within this radius and conducted at least
14
     partially, if not entirely, on public sidewalks.
15

16                                                  Injury
17          67.    Rajan intends to again in the near future demonstrate in front of this CVS or
18   other neighborhood pharmacies in order to help dispel myths about vaccination and to inform
19   Californians about their First Amendment rights (including publicizing his litigation in support
20   of free speech). Rajan intends such demonstrations to be accomplished through handbills
21   similar to those he distributed on September 24. Handbill distribution will again require Rajan
22   to approach others within 30 feet without their consent to deliver his message.
23          68.    Rajan’s educational demonstrations do not limit the access of other people to
24   vaccination sites for any purpose. Nor does silently approaching other people within 30 feet
25   outdoors promote the spread of the virus.
26          69.    Rajan does not wish to be arrested, spend up to six months in jail, or pay up to a
27   $1,000 criminal fine.
28
      Case No. 2:21-cv-8104                                                                       21
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
                Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 22 of 26



 1          70.     Rajan reasonably fears criminal prosecution when he renews his demonstration.
 2          71.     Unless implementation of SB 742 is enjoined, Rajan will be forced to censor
 3   himself to avoid criminal citation.
 4          72.     Even if the Defendant were to attempt to assure Rajan that such demonstrations
 5   were permitted, given the sweeping prohibition of SB 742, Rajan would not feel comfortable
 6   speaking freely and would still reasonably fear criminal liability
 7
                                           CAUSES OF ACTION
 8
                         Count I – Facial Violation of the First Amendment
 9                        (42 U.S.C. § 1983 – Free Speech Clause – Facial)
10          73.     Plaintiff reasserts and realleges paragraphs 1 through 72 as if fully set forth
11   therein.
12          74.     According to the First Amendment to the United States Constitution, “Congress
13   shall make no law … abridging the freedom of speech.”
14          75.     The First Amendment is incorporated to apply to the states through the
15   Fourteenth Amendment.
16          76.     SB 742 constitutes an impermissible and unreasonable restriction on the time,
17   place, or manner of protected speech because it burdens substantially more speech than is
18   necessary to further the government’s legitimate interests.
19          77.     SB 742 chills speech on the basis of content and viewpoint of the speech, imposes
20   criminal liability in contravention of the First Amendment. SB 742 is not content-neutral is
21   because it expressly privileges one form of speech—labor picketing—that has equal or greater
22   propensity to obstruct vaccination sites or spread infection than any other sort of speech that
23   may requires individuals to be within “30 feet” of listeners. SB 742 invites arbitrary, subjective,
24   and viewpoint discriminatory enforcement. In fact, it constitutes viewpoint discrimination by
25   exempting pro-union speech.
26          78.     SB 742 is substantially overbroad because it vests in prosecutors, including
27   Defendant, unfettered discretion to apply it in a discriminatory manner.
28
      Case No. 2:21-cv-8104                                                                          22
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
                Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 23 of 26



 1          79.     SB 742 is substantially overbroad because it restricts speech having nothing to do
 2   with the (already criminal) activities that might obstruct access to more than 10,000 vaccination
 3   sites in the state.
 4          80.     SB 742 is not appropriately tailored to any government interest. The state district
 5   has no significant legitimate interest in restricting speech activities, including Plaintiff’s pro-
 6   vaccine demonstrations. The excessive 100-foot perimeters and 30-foot bubbles within the
 7   vicinity of tens of thousands of locations in the state, including traditional speech forums,
 8   therefore does not achieve any of the state’s goals but inhibits citizens from communicating
 9   with others to protest, evangelize, or petition government with ballot initiatives of signatures
10   in support of political candidates.
11          81.     To the extent that SB 742 is constitutional in any of its applications, it is
12   nonetheless substantially overbroad in relation to any legitimate sweep and is facially
13   unconstitutional for that reason.
14          82.     42 U.S.C. §§ 1983, 1988, and Cal. Civ. Code § 52.1(c) entitle Plaintiff to
15   declaratory relief and preliminary and permanent injunctive relief invalidating and restraining
16   enforcement of SB 742. Unless Defendant is enjoined from enforcing SB 742, Plaintiff will
17   suffer irreparable harm that cannot fully be compensated by an award of monetary damages.
18          83.     Plaintiff found it necessary to engage the services of private counsel to vindicate
19   his rights under the law. Plaintiff is therefore entitled to an award of attorneys’ fees under 42
20   U.S.C. § 1988 and Cal. Civ. Code § 52.1(i).
21
                  Count II –Violation of the First Amendment as Applied to Plaintiff
22                      (42 U.S.C. § 1983 – Free Speech Clause – As Applied)
23          84.     Plaintiff reasserts and realleges paragraphs 1 through 83 as if fully set forth
24   therein.
25          85.     Plaintiff’s speech, as described in paragraphs 57 through 66 above, is fully
26   protected by the First Amendment.
27          86.     California’s legitimate interests are served in no way by restricting plaintiffs’
28   speech.
      Case No. 2:21-cv-8104                                                                          23
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 24 of 26



 1          87.    The First Amendment protects against the government; it does not leave citizens
 2   at the mercy of noblesse oblige. An unconstitutional statute will not be upheld merely because the
 3   government promises to use it responsibly.
 4          88.    By reason of SB 742, passed and implemented under color of state law,
 5   Defendant has imposed a content and/or viewpoint-based restriction on Plaintiff’s speech in
 6   violation of the Free Speech Clause of the First Amendment as applied to the states and their
 7   political subdivisions under the Fourteenth Amendment to the United States Constitution and
 8   42 U.S.C. § 1983.
 9          89.    Even if Defendant were to attempt to assure Plaintiff that his speech and conduct
10   were permitted under SB 742, given the broad language of the law, Plaintiff would not feel
11   comfortable speaking freely and would still reasonably fear criminal liability.
12          90.    Such ad hoc exemptions would only demonstrate that the law is in fact content
13   and viewpoint based.
14          91.    42 U.S.C. §§ 1983 and 1988 entitles Plaintiff to declaratory relief and preliminary
15   and permanent injunctive relief invalidating and restraining enforcement of SB 742. Unless
16   Defendant is enjoined from enforcing SB 742, Plaintiff will suffer irreparable harm that cannot
17   fully be compensated by an award of monetary damages.
18          92.    Plaintiff found it necessary to engage the services of private counsel to vindicate
19   his rights under the law. Plaintiff is therefore entitled to an award of attorneys’ fees, as well as
20   reasonable costs of suit, under 42 U.S.C. § 1988 and Cal. Civ. Code § 52.1(i).
21
          Count III – Violation of Article I, Section 2(a) of California State Constitution
22                                 (California Civil Code § 52.1)
23          93.    Plaintiff reasserts and realleges paragraph 1 through 92 as if fully set forth therein.
24          94.    Defendant deprives Plaintiff of the rights secured to him by the California
25   Constitution. Specifically, Defendant’s enforcement of SB 742 violates Plaintiff’s right to
26   freedom of speech under Article I, Section 2 of the California Constitution. This was and is a
27   violation of Cal. Civ. Code § 52.1.
28
      Case No. 2:21-cv-8104                                                                            24
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
      DECLARATORY AND INJUNCTIVE RELIEF
             Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 25 of 26



 1          95.    Unless enjoined by this Court, Defendant’s enforcement of SB 742 will infringe
 2   Plaintiff’s rights under the California and United States Constitutions and thereby cause
 3   irreparable injury for which no adequate remedy of law exists.
 4          96.    Plaintiff found it necessary to engage the services of private counsel to vindicate
 5   his rights under the law. Plaintiff is therefore entitled to an award of attorneys’ fees, as well as
 6   reasonable costs of suit, under Cal. Civ. Code § 52.1(i).
 7
                                         PRAYER FOR RELIEF
 8
            97.    Therefore, Rajan Gupta, by and through his next friend Ananda Gupta
 9
     respectfully requests the following relief:
10
                   a. A declaratory judgment that SB 742 facially violates the First and Fourteenth
11
                      Amendments to the United States Constitution;
12
                   b. A preliminary injunction prohibiting Defendant and his agents from enforcing
13
                      SB 742;
14
                   c. A permanent injunction prohibiting Defendant and his agents from enforcing
15
                      SB 742;
16
                   d. An award of attorneys’ fees, costs, and expenses in this action; and
17
                   e. Any other legal or equitable relief to which Gupta may show himself to be
18
                      justly entitled.
19

20
     Dated: October 12, 2021             Respectfully submitted,
21

22                                       /s/ Theodore H. Frank
                                         Theodore H. Frank (SBN 196332)
23
                                         HAMILTON LINCOLN LAW INSTITUTE
24                                       1629 K Street NW, Suite 300
                                         Washington, DC 20006
25                                       Voice: 703-203-3848
26                                       Email: ted.frank@hlli.org
27                                       Attorneys for Ananda Gupta
28
      Case No. 2:21-cv-8104                                                                           25
      COMPLAINT FOR VIOLATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
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Case 3:21-cv-09045-TSH Document 1 Filed 10/12/21 Page 26 of 26
